                      Case 14-60091-lrc                      Doc 87     Filed 07/22/19 Entered 07/22/19 12:40:40                                     Desc
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                                            Individual Estate Property Record and Report                                                                    Page: 1

                                                             Asset Cases
Case No.: 14-60091-LRC                                                                          Trustee Name:      (300340) William J. Layng
Case Name:    ROBINSON, JAMES EDWARD                                                            Date Filed (f) or Converted (c): 05/23/2014 (f)
              ROBINSON, CAROLYN FLEMMING
                                                                                                § 341(a) Meeting Date:       06/24/2014
For Period Ending:         06/30/2019                                                           Claims Bar Date:      02/03/2015

                                       1                                2                      3                      4                   5                    6

                             Asset Description                      Petition/          Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                  (Scheduled And Unscheduled (u) Property)        Unscheduled         (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                     Values                  Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                     Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                and Other Costs)

    1       REAL PROPERTY                                             175,000.00                        0.00         OA                        0.00                         FA
            2216 Park Manor Lane
            Snellville, GA 30078

    2       BANK ACCOUNTS                                                   236.27                      0.00         OA                        0.00                         FA
            BOA checking

    3       BANK ACCOUNTS                                                     0.00                      0.00         OA                        0.00                         FA
            Checking account - Georgia United Credit Union

    4       BANK ACCOUNTS                                                     0.00                      0.00         OA                        0.00                         FA
            joint checking account w son (who is in the
            military and stationed out of country)
            Wells Fargo

    5       BANK ACCOUNTS                                                   401.71                      0.00         OA                        0.00                         FA
            BOA savings

    6       HOUSEHOLD GOODS AND                                         4,500.00                        0.00         OA                        0.00                         FA
            FURNISHINGS
            Household goods

    7       WEARING APPAREL                                                 500.00                      0.00         OA                        0.00                         FA
            Clothing

    8       FURS AND JEWELRY                                            1,000.00                        0.00         OA                        0.00                         FA
            Jewelry

    9       PENSION PLANS AND PROFIT                                    7,000.00                        0.00         OA                        0.00                         FA
            SHARING
            401K

   10       PENSION PLANS AND PROFIT                                   15,000.00                        0.00         OA                        0.00                         FA
            SHARING
            403B

   11       PENSION PLANS AND PROFIT                                   18,000.00                        0.00         OA                        0.00                         FA
            SHARING
            TRS

   12       STOCK AND BUSINESS INTERESTS                               29,711.28                   24,151.28                                   0.00                14,722.59
            900 shares Primerica (future stock option)

   13       AUTOMOBILES AND OTHER                                       3,000.00                        0.00         OA                        0.00                         FA
            VEHICLES
            2004 Jeep Grand Cherokee

   14       AUTOMOBILES AND OTHER                                       3,300.00                        0.00         OA                        0.00                         FA
            VEHICLES
            2003 BMW 325i

   15       AUTOMOBILES AND OTHER                                       1,500.00                        0.00         OA                        0.00                         FA
            VEHICLES
            1999 Honda Accord

   16       AUTOMOBILES AND OTHER                                       3,000.00                        0.00         OA                        0.00                         FA
            VEHICLES
            2004 Cadillac CTS
                  Case 14-60091-lrc                    Doc 87    Filed 07/22/19 Entered 07/22/19 12:40:40                                  Desc
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                                                           Form 1
                                       Individual Estate Property Record and Report                                                               Page: 2

                                                        Asset Cases
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                                   1                             2                   3                      4                   5                    6

                           Asset Description                  Petition/      Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled     (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                               Values              Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                           Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                      and Other Costs)


  16        Assets Totals (Excluding unknown values)         $262,149.26              $24,151.28                                    $0.00            $14,722.59



Major Activities Affecting Case Closing:

                                7-18-19: The trustee obtained an order revoking the debtor's discharge based on the failure to comply with
                                the order to turn over funds.
                                7-14-18; The trustee's attorney is pursuing a contempt action against the debtor for failure to turn over estate
                                funds.
                                7-12-17; The trustee's attorney is pursuing a contempt action against the debtor for failure to turn over estate
                                funds.
                                7-11-16; The trustee is trying to recover funds from the debtor ordered to be turned over.
                                7-17-15; The trustee is negotiating with the debtors for turnover of funds from Primerica stock options
                                7-23-14; The trustee is investigating selling Primerica stock options owned by the debtor.


Initial Projected Date Of Final Report (TFR): 05/23/2015                   Current Projected Date Of Final Report (TFR):            12/16/2020
